   Case 2:94-cr-00062-MHT-SRW Document 1846 Filed 05/27/05 Page 1 of 2




   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA            )
                                    )
    v.                              )     CRIMINAL ACTION NO.
                                    )        2:94cr62-T
DONALD MINEFIELD                    )            (WO)

                                  ORDER

    This cause is now before the court on defendant Donald

Minefield’s notice of appeal (Doc. No. 1845), which the

court is treating as a motion to proceed on appeal in forma

pauperis.

    28 U.S.C.A. § 1915(a)(3) provides that "[a]n appeal may

not be taken in forma pauperis if the trial court certifies

in writing that it is not taken in good faith."               In making

this determination as to good faith, a court must use an

objective    standard,     such     as    whether    the    appeal       is

"frivolous," Coppedge v. United States, 369 U.S. 438, 445,

82 S.Ct. 917, 921 (1962), or "has no substantive merit."

United States v. Bottoson, 644 F.2d 1174, 1176 (5th Cir.
   Case 2:94-cr-00062-MHT-SRW Document 1846 Filed 05/27/05 Page 2 of 2




Unit B May 15, 1981) (per curiam), cert. denied, 454 U.S.

903, 102 S.Ct. 411 (1981); see also Rudolph v. Allen, 666

F.2d 519, 520 (11th Cir. 1982) (per curiam), cert. denied,

457 U.S. 1122, 102 S.Ct. 2938 (1982); Morris v. Ross, 663

F.2d 1032 (11th Cir. 1981), cert. denied, 456 U.S. 1010, 102

S.Ct. 2303 (1982).      Applying this standard, this court is of

the opinion that the defendant's appeal is without a legal

or factual basis and, accordingly, is frivolous and                  not

taken in good faith.        See, e.g., Rudolph v. Allen, supra;

Brown v. Pena, 441 F. Supp. 1382 (S.D. Fla. 1977), aff'd

without opinion 589 F.2d 1113 (5th Cir. 1979).

    Accordingly, it is ORDERED that the defendant's motion

to proceed on appeal in forma pauperis be and it is hereby

denied; and that the appeal in this cause be and it is

hereby certified, pursuant to 28 U.S.C.A. § 1915(a)(3), as

not taken in good faith.

    DONE, this the 27th day of May, 2005.




                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
